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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                  .„—.-.-.—.--.x
CONGREGATION RABBINICAL COLLEGE OF               7:20-cv-06158-KMK
TARTIKOV, INC., RABBI MORDECHAI BABAD,
RABBI MEILECH MENCZER, RABBI JACOB
HERSHKOWITZ, and RABBI CHAIM ROSENBERG,


                                             Plaintiffs,
               -against-

VILLAGE OF POMONA, NY and BOARD OF TRUSTEES OF
THE VILLAGE OF POMONA, NY,

                                             Defendants.




       PLAINTIFFS' NOTICE OF MOTION FOR PRELIMIANRY INJUNCTION
                      PURSUANT TO FED R. CIV. P. 65

                             ORAL ARGUMENT REQUESTED


       NOTICE IS HEREBY GIVEN that upon the accompanying Memorandum of Law, dated

October 20, 2020, the Declaration of Joseph Churgin, Esq. dated October 20, 2020, the

Declaration of Jacob Hershkowitz, dated October 15, 2020, the Declaration ofMeilech Menczer,

dated October 15, 2020, the Declaration ofChaim Rosenberg, dated October 15, 2020, the

Declaration ofChaim Babad, dated October 15, 2020, the Declaration ofMordcho Babad, dated

October 15, 2020, the Declaration of Michael Tauber, dated October 15, 2020, the declaration of

Kevin Kinser E. Ed, dated October 16, 2020 and the declaration ofSteven Resnicoff, dated

October 16, 2020, and all exhibits attached thereto, the Plaintiffs Congregation Rabbinical

College ofTartikov, Inc. ("Tartikov" or the "Rabbinical College"), Rabbi Mordechai Babad,

Rabbi Meilech Menczer, Rabbi Jacob Hershkowitz, Rabbi Chaim Rosenberg (collectively, the

"Plaintiffs"), by and through their attorneys, SAVAD CHURGIN, shall move this Court before
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Hon. Kenneth M. Karas, USD J, at the United States Courthouse, located at 300 Quarropas Street,

White Plains, New York 10601, on December 7, 2020, at 10:00 a.m., or soon thereafter as

counsel may be heard, for a preliminary injunction, pursuant to Fed R. Civ. P. 65, enjoining

Defendants Village of Pomona, N.Y. and the Board of Trustees of the Village of Pomona, N.Y.

(collectively "Pomona", the "Village" or "Defendants") from enforcing the provisions of the

Village Code that prohibit non-accredited educational institutions, family dwellings, and separate

cooking, dining and housekeeping facilities.



       PLEASE TAKE FURTHER NOTICE that responsive briefs and papers will be served

pursuant to the schedule previously set by the Court.

Dated: Nanuet, New York
        October 20, 2020
                                                     v
                                            Jq^ph'A. Churgin (JC 6854)
                                            Donna C. Sobel (DS 3267)
                                               Savad Churgin
                                            55 Old Turnpike Road, Suite 209
                                            Nanuet, New York 10954

                                            Roman P. Storzer (pro hac vice motion pending)
                                               Storzer & Associates, P.C.
                                               1025 Connecticut Avenue, N.W., Suite 1000
                                            Washington, D.C. 20036

                                            John G. Stepanovich (JS 8876)
                                            Stepanovich Law, PLC
                                            618 Village Drive, Suite K
                                            Virginia Beach, Virginia 23454

                                            Attorneys for Plaintiffs




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To: Feerick Nugent MacCartney PLLC
      96 South Broadway
      South Nyack, New York 10960

     Attorneys for Defendants




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